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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-3061                                                September Term, 2024
                                                                     1:21-cr-00040-TNM-1
                                                  Filed On: January 21, 2025 [2095199]
United States of America,

              Appellee

      v.

Patrick Edward McCaughey, III,

              Appellant

      BEFORE:       Circuit Judges Millett, Wilkins, and Childs


                  COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Tuesday, January 21, 2025 at
9:32 a.m. The cause was heard as case No. 1 of 2 and argued before the Court by:

     Dennis E. Boyle, counsel for Appellant.
     T. Dietrich Hill (AUSA), counsel for Appellee.


AT ARGUMENT, the Court:
 Ordered the parties to promptly update the Court on the status of this appeal


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Anne A. Rothenberger
                                                         Deputy Clerk
